 

Case 6:21-cv-00055-NKM-RSB Document 36-5 Filed 12/17/21 Page 1lof6 Pageid#: 669

Performance Report
March 28, 2021 - April 3, 2021

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Case 6:21-cv-00055-NKM-RSB Document 36-5 Filed 12/17/21 Page 2of6 Pageid#: 670

Freedom Center

Facebook reach for the week of 3/28/2021, provided by
DeDonato Enterprises DBA Flag and Cross Network

 

60,000

40,000

20,000

 

3/28 3/29 3/30 3/31 4/1 4/2 4/3

@ Posts
@ Videos

Unique Facebook Users
Over 1 7 At Reached In The Past Week!
 

 

Case 6:21-cv-00055-NKM-RSB Document 36-5 Filed 12/17/21 Page 30f6 Pageid#: 671

User Reach By Media Format

Videos Posts

17.8% 82.2%

  

Total percentage accounted Total percentage accounted
for by 5 shared videos: for by 7 shared posts:
31k+ users reached 143k+ users reached

Data sourced from our top 4 performing pages for Freedom Center:

Keep and Bear - 65k users

 

— SS ef

HomeDefenseGun - 459k users
United States Constitution - 1.2 million users
 

 

Case 6:21-cv-00055-NKM-RSB Document 36-5 Filed 12/17/21 Page 4of6 Pageid#: 672

This week's heavy hitters:

35k reached:

Thomas Sowell Quote

“BUT HE WAS

PIERCED FOR OUR we
Meee LS a
HE WAS CRUSHED >
FOR OUR INIQUITIES; } 9
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CHASTISEMENT ei

THAT BROUGHT -US
PEACE, AND WITH
HIS WOUNDS WE ARE

%

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HEALED.” Pi
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19.6k reached:
Ryan Helfenbein Quote

  

“WE SEEM TO BE GETTING CLOSER AND
MIR OOPS UT ats 18) ste
MSS AUN Me UM ei es ULE

ea Mey SES LEE
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Mii Lip ate

33k reached:

Ne Isaiah 53 Passage

 

 

 

 

 

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Case 6:21-cv-00055-NKM-RSB Document 36-5 Filed 12/17/21 Page5of6 Pageid#: 673

This Week's Email:
Total emails sent: 881,863

"Majority of Americans say cancel culture is a threat to
freedom and are afraid to share their political opinions"

  
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Christ Is King.
Church Is Essential.

Freedom Is Everything.

 
